The VanderBloemen Group LLC

Exhibit 150 - SCV Updated Commission Summary plus Interest per Summary Judgement Decision and Exhibit 149


                                                                                                                                                                                                                        Note 1         Note 2
                                                                                                A                B                  C         D=A-B-C             J                     E            F=D-E+J              G              H             I=F+G+H
                                              Job Detail Report                             Computed
                                                                                          Revenue - For                                                         Project Fee                                                    Add BACK
 TVG # per TVJ 2/28/19                                                                      Completed    Job Cost per TVJ                                    Payout-included TVJ Overhead                      Add BACK TVJ Certain Costs on          Adjusted Gross
 2/13/18 & Commission                                                                     Projects = Amt Feb 19 Comm                                           in Job Cost - Adjustment -     TVJ Project       Overhead         POST                     Profit
   4/5/18   Calc Order of                                                                 Received from Sheet - INCLUDES       Est. Cost to                      UPDATED      NOT IN JOB     Profit prior to Adjustment for TERMINATION
  Reports     Projects                Job #                     Description                   Client       PROJECT FEE          Complete      Gross Profit        4/3/19         COST         commission       FreshMarket     PROJECTS
     21           1         Job#11-MEN-001        Menards - Dayton OH                         4,462,767        4,257,157                  -        205,610            87,513            -             293,123            -               -                     293,123
     22           2         Job#12-MEN-002        Menards - Chesterfield, MI                  6,004,803        5,921,462                  -         83,341            36,572            -             119,913            -               -                     119,913
     23           3         Job#12-MEN-005        Menards - Springfield, IL                   7,226,681        7,133,806                  -         92,875            41,969            -             134,844            -               -                     134,844
     24           4         Job#12-MEN-008        Menards - Cedar Falls, IA                   2,827,608        2,781,149                  -         46,459            34,966            -              81,425            -               -                      81,425
     25           5         Job#12-MEN-012        Menards - St. Peters, MO                    4,675,155        4,424,309                  -        250,846           107,506            -             358,352            -               -                     358,352
     28           6         Job#12-MEN-016        Menards - Livonia, MI                       6,411,765        6,376,379                  -         35,386            20,264            -              55,650            -               -                      55,650
     26           7         Job#12-MEN-018        Menards - Cheyenne, WY                      3,901,746        3,674,398                  -        227,348           100,620            -             327,968            -               -                     327,968
     27           8         Job#12-MEN-019        Menards - Evendale, OH                      6,248,254        6,071,644                  -        176,610            76,031            -             252,641            -               -                     252,641
     29           9         Job#12-MEN-021        Menards - Manchester, MO                    4,407,342        4,413,655                  -          (6,313)           1,157            -              (5,156)           -               -                       (5,156)
     32          10         Job#13-KROG-003       Kroger - Rochester, MI                      4,407,099        4,291,117                  -        115,982            47,519            -             163,501            -               -                     163,501
     33          11         Job#14-KROG-007       Kroger - Farmington, MI                       789,786          754,172                  -         35,614            15,263            -              50,877            -               -                      50,877
     34          12         Job#14-KROG-017       Kroger - Sterling Heights, MI               4,217,718        4,025,121                  -        192,597            82,542            -             275,139            -               -                     275,139
     31          13         Job#14-MEN-001        Menards - Jamestown, ND                    11,364,772       10,613,082                  -        751,690           322,153            -           1,073,843            -               -                    1,073,843
     36          14         Job#15-KRO-003F       Kroger - Roseville, MI Fire                    88,701           77,925                  -         10,776             4,618         (7,000)            8,394            -               -                       8,394
     41          15         Job#15-KRO-018P       Kroger - Fishers, IN misc                      35,791           36,666                  -            (875)              -          (7,000)           (7,875)           -               -                       (7,875)
     42          16         Job#15-KRO-025F       Kroger - Bowling Green Fire                    18,287           17,116                  -           1,171              456         (7,000)           (5,373)           -               -                       (5,373)
     38          17         Job#15-KROG-002       Kroger - Sandusky, OH                       9,918,020        9,700,533                  -        217,487            93,209         (7,000)          303,696            -               -                     303,696
     35          18         Job#15-KROG-003       Kroger - Roseville, MI                      9,270,360        8,932,701                  -        337,659           144,711         (7,000)          475,370            -               -                     475,370
      2          19         Job#15KROG-006        Kroger - D-759                             11,481,718       11,058,417                  -        423,301           181,415         (7,000)          597,716            -               -                     597,716
      1          20         Job#15KROG-007        Kroger-D449FC-ST HTS Fuel CTR               1,471,826        1,384,515                  -         87,311            37,419         (7,000)          117,730            -               -                     117,730
     40          21         Job#15-KROG-018       Kroger - Fishers, IN                       11,802,262       11,401,134                  -        401,128           171,965         (7,000)          566,093            -               -                     566,093
     39          22         Job#15-KROG-022       Kroger - Franklin, IN                      11,154,694       10,559,662                  -        595,032           255,014         (7,000)          843,046            -               -                     843,046
      6          23         Job#15KROG-025        KROGER - N878                              11,012,992       10,580,716                  -        432,276           185,101         (7,000)          610,377            -               -                     610,377
      8          24         Job#15MEN-001         MENARDS - INDY SOUTH                        2,685,022        2,521,346                  -        163,677            70,147         (7,000)          226,824            -               -                     226,824
      7          25         Job#15MEN-003         MENARDS - INDY EAST                         8,917,061        8,662,269                  -        254,792           121,355         (7,000)          369,147            -               -                     369,147
     53          26         Job#16-GEN-064        Southport Raod B Shops                        143,596          123,464                  -         20,132             9,332         (7,000)           22,464            -               -                      22,464
     37          27         Job#16-KRO-003P       Kroger - Rochester, MI Rail                    10,379            7,729                  -           2,650               -          (7,000)           (4,350)           -               -                       (4,350)
      4          28         Job#16KROG-006        Kroger - IND J989                          12,696,386       12,260,583                  -        435,803           189,271         (7,000)          618,074            -            24,068                   642,142
     51          29         Job#16-KROG-015       Kroger - Flushing, MI fuel center           1,430,827        1,383,567                  -         47,260            20,636         (7,000)           60,897            -             3,292                    64,189
     44          30         Job#16-KROG-019       Kroger - Appleton, WI                         206,532          181,669                  -         24,862            10,661         (7,000)           28,523            -               -                      28,523
     45          31         Job#17-KROG-001       Kroger - KRO CLIST ADDIT Franklin, IN         223,000          178,123                  -         44,877            19,625         (7,000)           57,501            -               -                      57,501
     46          32         Job#17-KROG-004       Kroger - Grafton, WI                           70,528           53,358                  -         17,170             7,359         (7,000)           17,529            -               -                      17,529
     47          33         Job#17-KROG-005       Kroger - Mequon, WI                            48,834           37,817                  -         11,017             4,722         (7,000)            8,739            -               -                       8,739
     48          34         Job#17-KROG-007       Kroger - Milwaukee, WI                         44,749           32,936                  -         11,813             5,063         (7,000)            9,876            -               -                       9,876
     49          35         Job#17-KROG-008       Kroger - Glendale, WI                          72,965           49,471                  -         23,493            10,069         (7,000)           26,562            -               -                      26,562
     20          36         Job#17KROG-009        KRO-Roundys 893                                73,769           50,162                  -         23,607            10,117         (7,000)           26,724            -               -                      26,724
     19          37         Job#17TFM-002         THE FRESH MARKET #217                          76,708           64,517                  -         12,191             5,225         (7,000)           10,416          7,000             -                      17,416
     11          38         Job#17TFM-003         THE FRESH MARKET #043                          90,001           77,257                  -         12,744             5,462         (7,000)           11,206          7,000             -                      18,206
     50          39         Job#17-TFM-004        The Fresh Market - Asheville, NC               91,341           84,306                  -           7,035            3,015         (7,000)            3,050          7,000             -                      10,050
     17          40         Job#17TFM-006         THE FRESH MARKET #155                          83,324           72,821                  -         10,503             4,501         (7,000)            8,004          7,000             -                      15,004
      9          41         Job#17TFM-007         THE FRESH MARKET #025                          86,666           76,757                  -           9,909            4,247         (7,000)            7,156          7,000             -                      14,156
     10          42         Job#17TFM-008         THE FRESH MARKET #026                          85,762           71,023                  -         14,739             6,317         (7,000)           14,056          7,000             -                      21,056
     18          43         Job#17TFM-009         THE FRESH MARKET #189                          71,951           62,784                  -           9,167            3,929         (7,000)            6,096          7,000             -                      13,096
     12          44         Job#17TFM-010         THE FRESH MARKET #068                          87,976           74,267                  -         13,709             5,875         (7,000)           12,584          7,000             -                      19,584
     16          45         Job#17TFM-011         THE FRESH MARKET #128                          75,918           63,521                  -         12,397             5,313         (5,000)           12,710          5,000             -                      17,710
     14          46         Job#17TFM-012         THE FRESH MARKET #103                         111,820          103,214                  -           8,606            3,689                           12,295            -               -                      12,295
     13          47         Job#17TFM-013         THE FRESH MARKET #073                          77,373           63,163                  -         14,210             6,090                           20,300            -               -                      20,300
     15          48         Job#17TFM-014         THE FRESH MARKET #115                          86,325           76,603                  -           9,722            4,167                           13,889            -               -                      13,889
     54          49         Job#18-KROG-006       Sandusky Perkins Ave Repair                      4,000           8,089                  -          (4,089)              -          (7,000)          (11,089)         7,000             -                       (4,089)
     43                                                                                               -               -                   -            -                                                      -                                                     -
Completed Projects                                                                            160,852,961       154,927,652               -      5,925,309        2,584,170              (229,000)      8,280,479             68,000         27,360           8,375,839
                                                  Rounding                                            -                    2                                                (2)               -                   (4)
                                                                                              160,852,961       154,927,654                                       2,584,168              (229,000)      8,280,475
                                                                                           per Symbiont     per Symbiont                                     per Symbiont          per Symbiont




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The VanderBloemen Group LLC

Exhibit 150 - SCV Updated Commission Summary plus Interest per Summary Judgement Decision and Exhibit 149

                                                                                                                                                                                                                                                        Note 1             Note 2
                                                                 Other Fresh Market Completed
                                                                 jobs = 12                                                                                                        11,244                  4,819             (6,778)         9,286              6,778                                  16,064


                                                                                                                                                                              Average              Average           Average          Average          Average                                 Average
                                                                 The Fresh Market #028 - Boca Raton,
                                   17TFM-015                     FL                                                                                                               11,244                  4,819             (6,778)         9,286              6,778                                   16,064
                                   17TFM-019                     The Fresh Market #171 - Naples, FL                                                                               11,244                  4,819             (6,778)         9,286              6,778                                   16,064
                                                                 The Fresh Market #021 - Fox Chapel
                                   17TFM-021                     Pitt, PA                                                                                                         11,244                  4,819             (6,778)         9,286              6,778                                   16,064
                                   17TFM-022                     The Fresh Market #192                                                                                            11,244                  4,819             (6,778)         9,286              6,778                                   16,064
                                                                  Sub-Total                                                                                                       44,977               19,277           (27,111)          37,143            27,111                  -                  64,254



                                                                                                                    A                    B                     C            D=A-B-C                   J                 E             F = D+J+E            G                  H              I=F+G+H




                                                                                                                                 Job Cost per TVJ  Est. Cost to                                 Project Fee                  Estimated Project       Add BACK TVJ      Add BACK Certain   Adjusted Gross Profit
                                                                                                                                  6/25/20 AND     Complete as of                              Payout- IN JOB  TVJ Overhead     Profit before           Overhead         Costs on POST
                                                                                                                                BEFORE OVERHEAD Feb 28, 2019 per                             COST - UPDATED Adjustment - NOT Commissions at          Adjustment for     TERMINATION
In Progress Jobs                                                                                              Contract Value      ADJUSTMENT            TVJ                  Gross Profit        6/25/20       IN JOB COST      Completion            FreshMarket         PROJECTS
      5                50          Job#16KROG-010                KRO-JEF                                         7,345,939             7,186,898                     -          159,041                   -              (7,000)         152,041                 -             78,617                230,658
      3                51          Job#16KROG-021                Kro-WLAF J824                                  12,299,780            12,137,667                     -          162,113                   -              (7,000)         155,113                 -            577,534                732,647
      52               52          Job#17-KROG-035               Kroger - Muncie, IN                             2,147,306             1,997,876                     -          149,429                64,041            (7,000)         206,470                 -                -                  206,470
    New                53          Job#18-MEN-001                Menards-WH Addition Racine                      1,355,871             1,353,129                     -            2,742                   -              (7,000)          (4,258)                -              9,952                  5,694
    New                54          Job#18-MEN-002                Menards-WH Addition Burgtn                        967,500               925,143                     -           42,357                13,395            (7,000)          48,752                 -              6,521                 55,273
    New                55          Job#18-MEN-016                Menards-WH Addition Cheyenne, WY                  519,066               527,930                     -           (8,864)                  -              (7,000)         (15,864)                -              3,944                (11,920)
    New                56          Job#18-MEN-023                Menards-Racine Phase II                         2,186,637             2,147,585                     -           39,052                   -              (7,000)          32,052                 -             10,214                 42,266
In Progress Projects                                                                                            26,822,098            26,276,227                     -          545,871                77,436           (49,000)         574,307                 -            686,783              1,261,090


                                                                  SUB-TOTAL                                   187,675,059            181,203,879                     -        6,471,180             2,661,606          (278,000)      8,854,786            68,000            714,143            9,636,928


                                                                  GRAND TOTAL                                                                                                 6,516,158             2,680,882          (305,111)       8,891,929            95,111            714,143              9,701,182


Note 1 - the overhead deducted by Symbiont/TVJ in its 02/28/19 Commission Calculation for the Fresh Market projects has been added back as it is my understanding such deduction is not allowed.
Note 2- per discussion with Roumann and consideration of the original bid, these projects experienced a profit fade that would not have occurred had Roumann remained involved in the projects. In addition                                                                                                30%
 certain costs were reported by TVJ that required adjustment in determining the adjusted gross profit. The adjusted gross profit reported was computed with consideration given to the analysis of George Minnich
 as stated in his Expert Report issued in May 2019.
Ron Total Available                                                                                                                                                                                                                                                                             2,910,355
Previously Paid                                                                                                                                                                                                                                                                                (2,352,709)
Sub-total                                                                                                                                                                                                                                                                                         557,646

Estimating Projects                                                                                                                                                                                                                       (68,036)                                                        -
Warranty Projects                                                                                                                                                                                                                         (80,722)                                                        -

Total Commission Owed                                                                                                                                                                                                                                                                              557,646

Interest at 5% from 9/30/17 to present                                                                           8/19/2024              9/30/2017                  2,516                                                                                                                           192,197
Updated Comission Calculation with Interest                                                                                                                                                                                                                                                        749,843




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                                                                                                  Trial Exhibit 150 | Page 2 of 2
